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            Exhibit P-3
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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

____________________________________
                                    :
SUSAN BYRNE,                        :             C.A. NO. 3:17-CV-01104 (VLB)
           Plaintiff                :
v.                                  :
                                    :
YALE UNIVERSITY,                    :
           Defendant                :             DECEMBER 30, 2019
___________________________________ :


PLAINTIFF’S TRIAL EXHIBIT LIST INCLUDING DEFENDANTS’ OBJECTIONS AND
                PLAINTIFF’S RESPONSES TO OBJECTIONS

       Plaintiff’s proposed list of trial exhibits, along with Defendant’s objections
to those exhibits and Plaintiff’s response to those objections, is below. In
addition to the exhibits listed below, Plaintiff reserves the right to modify this list
and offer additional exhibits to the extent permitted by the Federal Rules of Civil
Procedure, the Local Rules for the District of Connecticut, or by Order of this
Court. Plaintiff also reserves the right to use additional exhibits at trial solely for
impeachment. Plaintiff also reserves the right to use any exhibit listed as an
exhibit by Defendant and which is admissible evidence.

 No.       Description      Bates Number       Objection         Counter-Stmt

 1.    April 29, 2014       BYRNE003146        Irrelevant,       Relevant to
       Email from A.                           Unduly            demonstrating
       Gonzalez to                             prejudicial,      causation and
       Mary re: Chair of                       Opinion Fed.      pretext in retaliation
       Spanish and                             R. Evid. 401,     claim. There is no
       Portuguese                              403, 701          danger of unfair
                                                                 prejudice. The
                                                                 evidence is based
                                                                 on witnesses
                                                                 perception and aids
                                                                 in the determination
                                                                 of a fact in dispute.




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2.   Faculty             BYRNE 12-184
     Handbook July
     1, 2014
3.   FAS Ladder          BYRNE17171-
     Faculty             17205
     Promotion
     Handbook
     December 2015
4.   May 7, 2015         BYRNE3147-        Irrelevant,      Relevant to
     Memo on             3157              Opinion,         retaliation claim.
     Spanish                               Hearsay Fed.     The evidence is
     Department                            R. Evid. 401,    based on witnesses
                                           701, 802         perception and aids
                                                            in the determination
                                                            of a fact in dispute.
                                                            This evidence is not
                                                            inadmissible
                                                            hearsay, or falls
                                                            within an exception
                                                            to the hearsay rule.

5.   February 15,        BYRNE17229
     2016 letter to S.
     Byrne from N.
     Valis
6.   November 17,        BYRNE18817-       Objection: See   See Plaintiff’s
     2015 email S.       18818             Defendant’s      Objection to
     Spangler to                           Motion in        Defendant’s Motion
     BLANK re: Title                       Limine           in Limine
     IX – Spanish
     Dept
7.   Climate Review      BYRNE3064-        Objection: See   See Plaintiff’s
     Report              3111              Defendant’s      Objection to
                                           Motion in        Defendant’s Motion
                                           Limine           in Limine

8.   April 28, 2015      P245-247
     email I.
     Danilowitz to S.


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      Byrne re: Fw:
      Departmental
      Climate Review
9.    April 11, 2016     BYRNE17577-       Objection: See   See Plaintiff’s
      email M.           17581             Defendant’s      Objection to
      Berkman to D.                        Motion in        Defendant’s Motion
      Post, A. Menon,                      Limine           in Limine
      S. Sawyer re:
      Confidential re:
      current
      investigation
10.   April 2, 2015      BYRNE3813-        Irrelevant,      Relevant to
      email exchange     3814              Opinion          demonstrating
      J. Cabranes to                       Unduly           causation and
      N. Valis cc: K.                      Prejudicial      pretext. There is no
      Stith, R.                            FRE 401, 403,    danger of unfair
      Gonzalez-                            701              prejudice. The
      Echevarria, R.                                        evidence is based
      Adorno re: It                                         on witnesses
      occurs to me                                          perception and aids
                                                            in the determination
                                                            of a fact in dispute.

11.   July 27, 2015      BYRNE11055-
      emails A.          11056
      Hungerford to T.
      Gendler, J.
      Dovidiore:
      Susan Byrne
      preliminary
      materials and
      deadlines
12.   February 8, 2015   BYRNE6129-        Irrelevant,      Relevant to
      email A.           6131              Hearsay,         retaliation claim.
      Hungerford to K.                     Opinion FRE      The evidence is
      Lofton re:                           401, 701, 802    based on witnesses
      FASTAP                                                perception and aids
                                                            in the determination
                                                            of a fact in dispute.


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                                                         This evidence is not
                                                         inadmissible
                                                         hearsay, or falls
                                                         within an exception
                                                         to the hearsay rule.

13.   April 1, 2016       P2107-2108
      letter to R.
      Adorno from S.
      Byrne
14.   August 13, 2015     P142-143
      email N. Valis to
      S. Byrne cc: A.
      Hungerford, J.
      Dovidiore:
      tenure dossier
15.   July 24, 2015       P149
      email exchange
      N. Valis to T.
      Gendler, S.
      Byrne, cc: A.
      Hungerford, J.
      Davidio, R.
      Adorno re:
      Byrne Review
16.   April 16, 2015      P154
      email R. Adorno
      to S. Byrne re:
      Materials
      submitted


17.   April 13, 2015      P156-157
      emails J.
      Mangan to S.
      Byrne cc: T.
      Gendler re: FW:
      In response to



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      your recent
      letter
18.   April 2, 2015       P159
      emails S. Byrne
      to J. Mangan cc:
      T. Gendler re: In
      response to
      your recent
      letter


19.   March 4, 2015     P165
      email exchange
      R. Adorno, S.
      Byrne re: dates
      for tenure review
20.   February 27,        P166-168
      2015 email
      exchange J.
      Davidio, S.
      Byrne cc: P.
      Bosward re:
      question about
      tenure review
      dates
21.   December 15,        P239
      2015 email S.
      Byrne to J.
      Dovidiore: date
      check
22.   December 17,        P77-78
      2015 email
      exchange J.
      Davidio, S.
      Byrne re: date
      check
23.   March 8, 2016       BYRNE422-435
      Appeal letter S.


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      Byrne to B.
      Polak
24.   S. Byrne         P5110-5123
      Curriculum Vitae
      August 2015
25.   National Search      P2046            Irrelevant      Relevant to breach
                                            (remote in      of contract claim.
                                            time) FRE 401
26.   S. Byrne             P2072            Irrelevant      Relevant to breach
      interview                             (remote in      of contract claim.
      schedule                              time) FRE 401
27.   S. Byrne list of     P5132-5140
      all research
28.   February 19,         P710-711
      2008 offer letter
      to S. Byrne from
      R. Gonzalez
      Echevarria
29.   Page 119 of Yale     Byrne313
      University
      Faculty
      Handbook dated
      9/18/2015
30.   February 19,         P3928-3930       Irrelevant      Relevant to breach
      2009 letter to S.                     (remote in      of contract claim.
      Byrne from R.                         time) FRE 401
      Levin and M.
      Rose Menocal
31.   March 26, 2010       P3931            Irrelevant      Relevant to breach
      letter to S. Byrne                    (remote in      of contract claim.
      from E.                               time) FRE 401
      Bakemeier re:
      Morse
      Fellowship
32.   S. Byrne grants      P4643-4645       Irrelevant      Relevant to breach
                                            (remote in      of contract claim.
                                            time) FRE 401

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33.   October 17, 2011 P4652               Irrelevant      Relevant to breach
      appointment                          (remote in      of contract claim.
      letter to S. Byrne                   time) FRE 401
      from I. Shapiro
34.   September 8,       P286-287          Irrelevant      Relevant to breach
      2010 email R.                        (remote in      of contract and
      Adorno to S.                         time) FRE 401   retaliation claims.
      Byrne re: Byrne
      activities for
      2010 meeting
35.   September 9,       BYRNE13217-       Irrelevant      Relevant to breach
      2012 emails S.     13218             (remote in      of contract and
      Byrne, R.                            time) FRE 401   retaliation claims.
      Adorno re:
      byrne
      activities…2011-
      12
36.   October 12, 2012 BYRNE2557           Irrelevant      Relevant to breach
      email R. Adorno                      (remote in      of contract and
      to S. Byrne re:                      time) FRE 401   retaliation claims.
      Brilliant
      presentation
      yesterday!
37.   September 5,       P284-285
      2013 emails R.
      Adorno S. Byrne
      re: Our
      departmental…
38.   October 5, 2014 BYRNE4807-
      letter of       4808
      recommendation
      for S. Byrne
      from R. Adorno
39.   October 12, 2014 BYRNE5104-
      email R.         5106
      Gonzalez
      Echevarria to R.
      Adorno re: Sue

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      attach Letter of
      Recommendatio
      n for Susan
      Byrne
40.   May 10, 2013       P181-182
      email R. Adorno
      to S. Byrne re:
      Associate
      Professor Susan
      Byrne
41.   May 21, 2013 S.    P2105
      Byrne
      Promotion
      notice
42.   May 24, 2011 S.    P2100             Irrelevant       Relevant to breach
      Byrne                                (remote in       of contract claim.
      Reappointment                        time) FRE 401
      notice
43.   June 20, 2016      BYRNE17319-       Objection: See   See Plaintiff’s
      Confidential       17327             Defendant’s      Objection to
      UWC Panel                            Motion in        Defendant’s Motion
      Report to                            Limine           in Limine
      Provost
44.   June 15, 2016      BYRNE18097        Objection: See   See Plaintiff’s
      Confidential                         Defendant’s      Objection to
      letter to                            Motion in        Defendant’s Motion
      Professor                            Limine           in Limine
      Michael Della
      Rocca, from R.
      Gonzalez
      Echevarria
45.   December 3,        BYRNE18786-       Objection: See   See Plaintiff’s
      2015               18789             Defendant’s      Objection to
      handwritten                          Motion in        Defendant’s Motion
      notes                                Limine           in Limine

46.   June 7, 2016       BYRNE17328-       Objection: See See Plaintiff’s
      letter to          17459             Defendant’s    Objection to

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       Members of the                        Motion in        Defendant’s Motion
       Panel from A.                         Limine           in Limine
       Menon
       enclosing Fact-
       Finder’s Report
       and Exhibits
47.    March 6, 2015       P1285-1287        Irrelevant,      Relevant to
       Anonymous                             Hearsay, FRE     protected speech
       letter                                401, 802         and retaliatory
                                                              animus. This
                                                              evidence is not
                                                              inadmissible
                                                              hearsay, or falls
                                                              within an exception
                                                              to the hearsay rule.

48.    March 25, 2015      P908-911
       Yale Daily News
       article Spanish
       Department
       under review
       following
       anonymous
       allegations
49.    March 7, 2016       BYRNE18821-       Objection: See
       email M.            18822             Defendant’s
       Berkman to J.                         Motion in
       Killheffer, S.                        Limine
       Spangler re:
       UWC
       investigation
50.    March 8, 2015       BYRNE12539-       Irrelevant FRE   Relevant to
       emails N. Valis,    12540             401              retaliation claim.
       R. Adorno re:
       Entrega del
       capitulo
51.    March 22, 2015      BYRNE3839         Irrelevant FRE   Relevant to
       email N. Valis to                     401              protected speech



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       R. Adorno re: A                                        and retaliatory
       gun that smokes                                        animus.

52.    March 22, 2015       BYRNE3893-
       emails R.            3901
       Adorno, N. Valis
       re: Fwd:
       Wednesday’s
       meeting
53.    Yale University      BYRNE15801-       Hearsay,        Relevant to
       Department of        15820             Irrelevant,     retaliation claim.
       Spanish and                            Incomplete      This evidence is not
       Portuguese May                         Best Evidence   inadmissible
       12, 2015                               FRE 401, 802,   hearsay, or falls
       Memorandum of                          1002            within an exception
       pertinent                                              to the hearsay rule.
       departmental                                           This is a complete
       events for the                                         document
       years 2013, 2014                                       produced by Yale in
       and 2015                                               discovery

54.    April 1, 2015        BYRNE12413-       Irrelevant      Relevant to
       emails J.            12415             Opinion         demonstrate
       Cabranes, K.                           Undue           retaliatory animus.
       Stith re: Byrne                        Prejudice FRE   There is no danger
       demand for                             401, 403, 701   of unfair prejudice.
       Adorno & RGE                                           The evidence is
       recusals on                                            based on witnesses
       tenure                                                 perception and aids
       consideration                                          in the determination
       attach Byrne                                           of a fact in dispute.
       demand for
       Adorno RGE
       recusals
55.    April 19, 2015       BYRNE12528-       FRE 402, 403    Relevant to
       email R. Adorno      12530                             retaliation claim
       to K. Stith cc: J.                                     and retaliatory
       Cabranes, N.                                           animus. There is
       Valis, R.



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       Gonzalez                                                no danger of unfair
       Echevarria                                              prejudice.

56.    April 14, 2015        BYRNE12710-       Irrelevant      Relevant to
       emails J.             12713             Opinion         demonstrate
       Cabranes, K.                            Undue           retaliatory animus.
       Stith, N. Valis, R.                     Prejudice FRE   There is no danger
       Gonzalez                                401, 403, 701   of unfair prejudice.
       Echevarria, R.                                          The evidence is
       Adorno re:                                              based on witnesses
       Departmental                                            perception and aids
       committee for                                           in the determination
       Byrne tenure                                            of a fact in dispute.
       review
57.    April 26, 2015    BYRNE5344-            Irrelevant      Relevant to
       email K. Stith to 5348                  Opinion         demonstrate
       R. Adorno cc: J.                        Undue           retaliatory animus.
       Cabranes re:                            Prejudice FRE   There is no danger
       Susan Byrne                             401, 403, 701   of unfair prejudice.
       preliminary                                             The evidence is
       materials and                                           based on witnesses
       recommendation                                          perception and aids
       s for dept review                                       in the determination
       committee                                               of a fact in dispute.

58.    April 24, 2015        BYRNE12549-       Irrelevant      Relevant to
       emails R.             12551             Opinion         demonstrate
       Adorno, K. Stith                        Undue           retaliatory animus.
       re: Divisiveness                        Prejudice FRE   There is no danger
       among many or                           401, 403, 701   of unfair prejudice.
       the malice of a                                         The evidence is
       few?                                                    based on witness
                                                               perception and aids
                                                               in the determination
                                                               of a fact in dispute.

59.    April 19, 2015        BYRNE4619-        Irrelevant      Relevant to
       email R. Adorno       4622              Hearsay         demonstrate
       to K. Stith, J.                         Opinion FRE     retaliatory animus.
       Cabranes, N.                            401, 701, 802   The evidence is
       Valis, R.                                               based on witness

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       Gonzalez                                              perception and aids
       Echevarria re:                                        in the determination
       Three topics:                                         of a fact in dispute.
       No. 3 here: A                                         This evidence is not
       turn for the                                          inadmissible
       worse attach                                          hearsay, or falls
       Memorandum of                                         within an exception
       04 16 15 ladder                                       to the hearsay rule.
       faculty meet &
       follow ups
60.    April 16, 2015     BYRNE4468-
       emails N. Valis,   4469
       R. Adorno re:
       Sue letter
61.    May 6, 2015        BYRNE12547
       emails K. Stith,
       R. Adorno re:
       The daffodils
       bloomed on
       Monday!*
62.    2/6/15 Email, R.   BYRNE10810
       Adorno to FAS
       Dean re APL
       Proposal
       Decision
63.    July 16, 2015      BYRNE4838-
       emails K. Stith    4839
       R. Adorno re:
       two matters
64.    July 26, 2015      BYRNE6991-        Irrelevant       Relevant to
       email R. Adorno    6997              Hearsay          demonstrate
       to K. Stith re:                      Opinion Best     retaliatory animus.
       Resending just                       Evidence FRE     This evidence is not
       in case attach                       401, 701, 802,   inadmissible
       On Kevin Poole                       1002             hearsay, or falls
       and my other                                          within an exception
       long-term                                             to the hearsay rule.
       relationships                                         This is a complete


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                                                              document
                                                              produced by Yale in
                                                              discovery.

65.    April 7, 2015       BYRNE7042         Irrelevant       Relevant to
       emails R.                             Opinion          retaliation claim.
       Adorno, B.                            Hearsay FRE      The evidence is
       Dragiyski re: En                      401, 701, 802    based on witness
       route to Wash                                          perception and aids
       DC                                                     in the determination
                                                              of a fact in dispute.
                                                              This evidence is not
                                                              inadmissible
                                                              hearsay, or falls
                                                              within an exception
                                                              to the hearsay rule.

66.    April 13, 2015      BYRNE7448-        Irrelevant       Relevant to
       emails D.           7450              Opinion          retaliation claim.
       Delbanco, R.                          Hearsay FRE      This evidence is not
       Adorno re: small                      401, 701, 802    inadmissible
       world; I just                                          hearsay, or falls
       didn’t realize it                                      within an exception
                                                              to the hearsay rule.
                                                              The evidence is
                                                              based on witness
                                                              perception and aids
                                                              in the determination
                                                              of a fact in dispute.

67.    July 22, 2015       BYRNE7611-
       emails R.           7612
       Gonzalez
       Echevarria, A.
       Birkenmaier re:
       Gracias por los
       libros!
68.    December 11,        BYRNE3815-        Irrelevant FRE   Relevant to
       2015 email R.       3818              401              retaliation claim.
       Adorno to N.
       Valis re: Latest

                                        13
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       version notes
       attach Notes for
       December 13
       meeting
69.    December 15,       BYRNE6800-        Irrelevant FRE   Relevant to
       2015 emails R.     6801              401              retaliation claim.
       Adorno, N. Valis
       re: Vintage
       Cocktail Books:
       A Recipe for
       Collecting
70.    May 22, 2016       BYRNE17611-       Objection: See   See Plaintiff’s
       email M.           17663             Defendant’s      Objection to
       Berkman to D.                        Motion in        Defendant’s Motion
       Post, A. Menon,                      Limine           in Limine
       S. Sawyer re:
       Confidential
       Echevarria draft
       report attach
       UWC Echevarria
       report draft 5-22-
       16
71.    July 16, 2016     BYRNE18150         Objection: See   See Plaintiff’s
       email B. Polak to                    Defendant’s      Objection to
       M. Della cc: S.                      Motion in        Defendant’s Motion
       Sawyer, A.                           Limine           in Limine
       Menon re:
       Confidential
       UWC
72.    Notes from RA’s    BYRNE476-479      Hearsay          Relevant to
       meeting with                         Opinion          retaliation claim.
       Tenure Appeal                        Irrelevant FRE   The evidence is
       Review                               401, 701, 802    based on witness
       Committee,                                            perception and aids
       Thursday June                                         in the determination
       2, 2016                                               of a fact in dispute.
                                                             This evidence is not
                                                             inadmissible
                                                             hearsay, or falls

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                                                              within an exception
                                                              to the hearsay rule.

73.    February 2016       BYRNE4403-        Objection: See   See Plaintiff’s
       emails R.           4410              Defendant’s      Objection to
       Adorno, K. Stith,                     Motion in        Defendant’s Motion
       N. Valis, J.                          Limine           in Limine
       Cabranes
       concerning IP
       addresses
74.    PP. 116-117 of      BYRNE310-11       Objection: See   See Plaintiff’s
       Yale University                       Defendant’s      Objection to
       Faculty                               Motion in        Defendant’s Motion
       Handbook,                             Limine           in Limine
       dated 9/18/15
75.    Handwritten         BYRNE17206-       Objection: See   This evidence is not
       notes               17227             Defendant’s      inadmissible
                                             Motion in        hearsay, or falls
                                             Limine           within an exception
                                             Also: Hearsay    to the hearsay rule.
                                             FRE 802
76.    April 8, 2015       BYRNE3935-        Hearsay          Relevant to
       email K. Stith to   3937              Opinion          demonstrate
       R. Adorno cc: J.                      Irrelevant       retaliatory animus.
       Cabranes re:                          Undue            This evidence is not
       Review of                             Prejudice FRE    inadmissible
       academic and                          401, 403, 701,   hearsay, or falls
       employment                            802              within an exception
       decisions                                              to the hearsay rule.
                                                              The evidence is
                                                              based on witness
                                                              perception and aids
                                                              in the determination
                                                              of a fact in dispute.
                                                              There is no danger
                                                              of unfair prejudice.

77.    July 12, 2015   BYRNE16556-           Irrelevant       Relevant to
       memo R. Adorno 16566                  Opinion          retaliation claim.
       to B. Goren, J.                       Hearsay          The evidence is

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       Thomas re:                            Incomplete      based on witness
       Climate Review                        FRE 401, 701,   perception and aids
       – Summary of                          802, 1002       in the determination
       the facts                                             of a fact in dispute.
                                                             This is a complete
                                                             document
                                                             produced by Yale in
                                                             discovery. This
                                                             evidence is not
                                                             inadmissible
                                                             hearsay, or falls
                                                             within an exception
                                                             to the hearsay rule.

78.    April 30, 2015      BYRNE12153-       Irrelevant      Relevant to
       emails R.           12154             Undue           retaliation claim.
       Adorno, K. Stith,                     Prejudice       There is no danger
       J. Cabranes, R.                       Incomplete      of unfair prejudice.
       Gonzalez                              FRE 401, 403,   This is a complete
       Echevarria, N.                        1002            document
       Valis re:                                             produced by Yale in
       Progress report                                       discovery.

79.    May 6, 2015         BYRNE4827-        Irrelevant      Relevant to
       emails R.           4828              Undue           demonstrate
       Adorno, K. Stith                      Prejudice FRE   retaliatory animus.
       re: Business at                       401, 403        There is no danger
       hand                                                  of unfair prejudice.

80.    Draft Conclusion BYRNE17115-          Irrelevant      Relevant to
       section          17118                Opinion         retaliation claim.
                                             Undue           The evidence is
                                             Prejudice FRE   based on witness
                                             401, 403, 701   perception and aids
                                                             in the determination
                                                             of a fact in dispute.
                                                             There is no danger
                                                             of unfair prejudice.

81.    Draft letter to     BYRNE17112-       Irrelevant      Relevant to
       Provost B. Polak    17114             Opinion         retaliation claim.
                                             Undue           The evidence is

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       with K. Stith                         Prejudice FRE    based on witness
       comments                              401, 403, 701    perception and aids
                                                              in the determination
                                                              of a fact in dispute.
                                                              There is no danger
                                                              of unfair prejudice.

82.    December 13,        BYRNE3819-        Irrelevant       Relevant to
       2015 emails J.      3825              Opinion          retaliation claim.
       Cabranes, N.                          Undue            The evidence is
       Valis, K. Stith, R.                   Prejudice        based on witness
       Adorno re: Might                      Hearsay FRE      perception and aids
       I have a brief                        401, 403, 701,   in the determination
       moment with                           802              of a fact in dispute.
       you?                                                   There is no danger
                                                              of unfair prejudice.
                                                              This evidence is not
                                                              inadmissible
                                                              hearsay, or falls
                                                              within an exception
                                                              to the hearsay rule.

83.    November 12,       P5697              Objection: See   See Plaintiff’s
       2015 email J.                         Defendant’s      Objection to
       Thomas to S.                          Motion in        Defendant’s Motion
       Byrne re: Follow                      Limine           in Limine
       Up
84.    December 1,        BYRNE18763-        Objection: See   The evidence is not
       2015 Susan         18766              Defendant’s      inadmissible
       Byrne                                 Motion in        hearsay, or falls
       Handwritten                           Limine           within an exception
       notes                                 Also: Hearsay    to the hearsay rule.
                                             FRE 802
85.    July 19, 2015      BYRNE18151-        Objection: See   See Plaintiff’s
       email M. Della     18152              Defendant’s      Objection to
       Rocca to B.                           Motion in        Defendant’s Motion
       Polak cc: S.                          Limine           in Limine
       Sawyer, A.
       Menon, D. Post,
       A. Swersey, J.
       Resnick, M.

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       Solomon, M.
       Addington, re:
       Confidential uwc
       case
86.    July 29, 2016       BYRNE17317-       Objection: See   See Plaintiff’s
       letter to R.        17318             Defendant’s      Objection to
       Gonzalez                              Motion in        Defendant’s Motion
       Echevarria from                       Limine           in Limine
       B. Polak
87.    March 30, 2015      BYRNE19245-
       email R. Adorno     19249
       to S. Byrne cc:
       FAS Dean, J.
       Mangan re:
       Letter soliciting
       materials for
       tenure review
       attach letter
88.    April 8, 2015       BYRNE12923-
       email E.            12925
       Bakemeier to A.
       Hungerford re:
       FW: Letter from
       Sue Byrne to
       Rolena attach
       letter
89.    April 2, 2015       BYRNE9582-        Irrelevant       Relevant to
       email L. Ficano     9587              Incomplete       retaliation claim.
       to B. Polak cc:                       FRE 401, 1002    This is a complete
       M. Barnett re:                                         document
       FW: Review of                                          produced by Yale in
       academic and                                           discovery.
       employment
       decisions
90.    April 3, 2015       BYRNE9435-        Object to        Relevant to breach
       email J.            9436              Dovidio to       of contract claim.
       Dovidioto J.                          Mangan email     There is no danger
       Mangan re: In                         as irrelevant,   of unfair prejudice.


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       response to                           unduly
       your recent                           prejudicial
       letter                                FRE 401, 403
91.    April 2, 2015       BYRNE12926
       email J. Mangan
       to K. Vanderlick,
       L. Suttle, J.
       Holloway, L.
       Cooley, J.
       Davidio, R.
       Burger cc: T.
       Gendler, A.
       Macdonald, E.
       Bakemeier, S.
       Girvin re: Note
       to Sue Byrne
92.    April 2015          P156-157          No objection     Relevant to breach
       emails R. Adoro,                      to P155;         of contract and
       S. Byrne, J.                          contains         negligent
       Mangan, FAS                           numerous         misrepresentation
       Dean                                  unrelated        claims.
       concerning                            emails
       submission of
       tenure materials
93.    April 15, 2015      BYRNE12910-       Irrelevant FRE   Relevant to breach
       email A.            12911             401              of contract and
       Hungerford to T.                                       negligent
       Gendler, J.                                            misrepresentation
       Davidio, J.                                            claims.
       Mangan, E.
       Bakemeier re:
       Confidential: In
       response to
       your recent
       letter
94.    July 6, 2015        BYRNE7650-
       email A.            7651
       Hungerford to T.
       Gendler, E.

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       Bakemeier, cc:
       J. Dovidiore:
       SPORT review
       status and
       Byrne case
95.    June 29, 2015      BYRNE7978
       email T. Gendler
       to A.
       Hungerford, B.
       Polak, M.
       Barnett, S.
       Spangler cc: E.
       Bakemeier, J.
       Dovidiore:
       SPORT review
       status and
       Byrne case
96.    July 6, 2015       BYRNE12928-
       email J. Dovidio   29
       to A. Hungerford
       cc: T. Gendler,
       E. Bakemeier re:
       SPORT review
       status and
       Byrne case
97.    August 13, 2015    P141
       email J. Dovidio
       to S. Byrne cc:
       T. Gendler, A.
       Hungerford re:
       Response to
       your questions
       about the tenure
       procedures
98.    November 11,       P86
       2015 email T.
       Gendler to S.
       Byrne re: update


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99.     July 24, 2015       BYRNE9769
        email T. Gendler
        to N. Valis, S.
        Byrne cc: A.
        Hungerford, J.
        Davidio, R.
        Adorno re:
        Byrne Review
100.    July 22, 2015       BYRNE5530         Irrelevant      Relevant to
        email K. Stith to                     Undue           retaliation claim.
        R. Adorno re:                         Prejudice FRE   There is no danger
        Thinking                              401 403         of unfair prejudice.

101.    April 13, 2015      BYRNE6895-
        emails re:          6897
        Departmental
        Committee for
        Byrne tenure
        review
102.    April 16, 2015    BYRNE7654
        emails A.
        Hungerford, R.
        Adorno, J.
        Dovidio re:
        Susan Byrne
        preliminary
        materials and
        recommendation
        s for dept review
        committee
103.    July 28, 2015       BYRNE12904-
        emails A.           12905
        Hungerford, T.
        Gendler re:
        change in
        second outside
        committee
        member



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104.    January 7, 2016      BYRNE3746-
        emails N. Valis,     3747
        D. Neelans, R.
        Adorno re:
        Interfolio
105.    November 2015        BYRNE6178-        Per 502(d)   Defendant’s last
        emails A.            6179              Order, we    minute claim of
        Hungerford, T.                         deem the     privilege has no
        Gendler, J.                            email from   basis in the law.
        Davidio, R.                            Amy          The document is an
        Adorno re:                             Hungerford   email between two
        Byrne Review                           7:55 am as   non-attorney
                                               privileged   employees of Yale
                                                            discussing a
                                                            business decision.
                                                            As such there is no
                                                            basis for
                                                            Defendant's
                                                            assertion of
                                                            privilege.

106.    January 19, 2016 P42-43
        email T. Gendler
        to S. Byrne cc:
        J. Mangan, J.
        Dovidio re:
        update to
        recusal request
107.    PP. 128-130 of       BYRNE322-324
        Yale University
        Faculty
        Handbook dated
        9/18/15
108.    April 26, 2015       BYRNE12626
        email R. Adorno
        to K. Stith cc: J.
        Cabranes re:
        Susan Byrne
        preliminary


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        materials and
        recommendation
        s for dept review
        committee
109.    March 2, 2016       BYRNE406-421
        Appeal letter S.
        Byrne to B.
        Polak
110.    Yale Faculty of     BYRNE12566-
        Arts and            12576
        Sciences Steps
        for promotion to
        Associate
        Professor (or
        Professor) with
        Tenure
111.    February 2, 1015    BYRNE374-376
        Notes by N.
        Valis Internal
        Review
        Committee, Sue
        Byrne Tenure
        Promotion
112.    May 6, 2016         BYRNE8966-
        email R. Adorno     9030
        to C. Smith cc:
        K. Zarra re:
        Confidential –
        Materials
        Requested
113.    Tenure Review       BYRNE9022-
        February 2016       9025
        Summary
        Internal Review
        Committee for
        Sue Byrne
        Tenure Case



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114.    S. Byrne tenure     BYRNE19287-       Objection to     Relevant to breach
        documents           19293             90-93 as         of contract and
                                              hearsay,         retaliation claims.
                                              opinion,         This evidence is not
                                              irrelevant,      inadmissible
                                              unduly           hearsay, or falls
                                              prejudicial      within an exception
                                              FRE 401, 403,    to the hearsay rule.
                                              701, 802         The evidence is
                                                               based on witness
                                                               perception and aids
                                                               in the determination
                                                               of a fact in dispute.
                                                               There is no danger
                                                               of unfair prejudice.

115.    April 7, 2013       BYRNE3573-        Irrelevant       Relevant to breach
        external review     3576              Undue            of contract claim.
        letter for S.                         Prejudice        There is no danger
        Byrne, Bruce                          Opinion          of unfair prejudice.
        Burningham to                         Hearsay FRE      The evidence is
        R. Adorno                             401, 403, 701,   based on witness
                                              802              perception and aids
                                                               in the determination
                                                               of a fact in dispute.
                                                               This evidence is not
                                                               inadmissible
                                                               hearsay, or falls
                                                               within an exception
                                                               to the hearsay rule.

116.    December 15,        BYRNE3629-
        2015 external       3633
        review letter for
        S. Byrne , Bruce
        Burningham to
        N. Valis
117.    Notes from          BYRNE9059-
        tenure              9061
        deliberations
        and vote

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        meeting: Susan
        Byrne February
        9, 2016
118.    February 28.        BYRNE3568-        Irrelevant       Relevant to breach
        2013 external       3572              Undue            of contract claim.
        review letter for                     Prejudice,       There is no danger
        S. Byrne,                             Hearsay,         of unfair prejudice.
        Frederick A. de                       Opinion FRE      This evidence is not
        Armas to R.                           401, 403, 701,   inadmissible
        Adorno                                802              hearsay, or falls
                                                               within an exception
                                                               to the hearsay rule.
                                                               The evidence is
                                                               based on witness
                                                               perception and aids
                                                               in the determination
                                                               of a fact in dispute.

119.    August 28, 2015     BYRNE3621-
        external review     3628
        letter for S.
        Byrne, Frederick
        A. de Armas to
        N. Valis
120.    Page 23 of          BYRNE217
        Faculty
        Handbook – III
        Faculty Ranks,
        Appointments,
        and Policies:
        University –
        Wide
121.    April 14, 2016      BYRNE9674-
        Letters to R.       9677
        Adorno, R.
        Gonzalez
        Echevarria, T.
        Gendler, N. Valis
        from C. Smith


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        re: B. Polak
        decision appoint
        Review
        Committee
        review S. Byrne
        complaint
122.    N. Valis Notes       BYRNE483-487    Irrelevant       Relevant to
        on May 24, 2016                      Hearsay          retaliation and
        Meeting with SB                      Opinion          breach of contract
        Tenure Review                        Undue            claims. The
        Panel                                Prejudice FRE    evidence is based
                                             401, 403, 701,   on witness
                                             802              perception and aids
                                                              in the determination
                                                              of a fact in dispute.
                                                              This evidence is not
                                                              inadmissible
                                                              hearsay, or falls
                                                              within an exception
                                                              to the hearsay rule.
                                                              There is no danger
                                                              of unfair prejudice.

123.    July 25, 2016        BYRNE446-451
        letter to B. Polak
        from members
        of the Review
        Committee
        attach report
124.    July 25, 2016        P633-638
        letter to B. Polak
        from members
        of the Review
        Committee
        attach report
125.    August 23, 2016 P709
        letter to S. Byrne
        from B. Polak re:
        decision of


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        complaint and
        report of Review
        Committee
126.    July 29, 2016     BYRNE18153-        Objection: See   See Plaintiff’s
        email A. Menon    18157              Defendant’s      Objection to
        to R. Gonzalez                       Motion in        Defendant’s Motion
        Echevarria cc: T.                    Limine           in Limine
        Gendler, B.
        Polak, D. Post,
        S. Spangler, K.
        Stith, M.
        Addington, M.
        Della Rocca, J.
        Resnik, M.
        Solomon, A.
        Swersey re:
        Confidential
        UWC attach
        Notice of
        Decision –
        Echevarria
127.    August 2, 2016     BYRNE18174        Objection: See   See Plaintiff’s
        email R.                             Defendant’s      Objection to
        Gonzalez                             Motion in        Defendant’s Motion
        Echevarria to A.                     Limine           in Limine
        Menon, cc: K.
        Stith re: Appeal
128.    August 24, 2016 BYRNE18214-          Objection: See   See Plaintiff’s
        email A. Menon      18217            Defendant’s      Objection to
        to K. Stith, cc: R.                  Motion in        Defendant’s Motion
        Gonzalez                             Limine           in Limine
        Echevarria, D.
        Post re: FW:
        Confidential and
        Personal
        Communication
        attach
        Echevarria



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        Gonzalez
        08.22.16
129.    August 30, 2016     BYRNE18461        Objection: See   See Plaintiff’s
        letter to R.                          Defendant’s      Objection to
        Gonzalez                              Motion in        Defendant’s Motion
        Echevarria from                       Limine           in Limine
        B. Polak re:
        decision
        suspend
130.    January 4, 2017     BYRNE18382        Objection: See   See Plaintiff’s
        letter to R.                          Defendant’s      Objection to
        Gonzalez                              Motion in        Defendant’s Motion
        Echevarria from                       Limine           in Limine
        B. Polak re: met
        training
        requirements
131.    September 14,       P5886-5887        Objection: See   See Plaintiff’s
        2016 email A.                         Defendant’s      Objection to
        Hungerford to                         Motion in        Defendant’s Motion
        Department                            Limine           in Limine
        Community re:
        Important
        department
        update: Spanish
        and Portuguese
132.    February 19,        BYRNE17481        Objection: See   See Plaintiff’s
        2016 email D.                         Defendant’s      Objection to
        Post to M.                            Motion in        Defendant’s Motion
        Berkman cc: I.                        Limine           in Limine
        Danilowitz, A.
        Menon re: UWC
        Fact Finder
133.    August 26, 2010     P2729             Irrelevant       Relevant to breach
        letter R. Adorno                      (remote in       of contract and
        to S. Byrne re:                       time), undue     negligent
        third year review                     prejudice FRE    misrepresentation
                                              401, 403         claims. There is no



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                                                               danger of unfair
                                                               prejudice.

134.    September 12,       BYRNE10717
        2013 email R.
        Adorno to E.
        Bakemeier, M.
        Miller re: A
        crunch in
        Span/Port 2014-
        15
135.    October 22, 2014 BYRNE16845
        email J. Mangan
        to M. Miller re:
        FW: Associate
        Professor Leave
        of Absence for
        Sue Byrne, AY
        2014
136.    September 30,       BYRNE12860-
        2013 email R.       12861
        Adorno to M.
        Miller re:
        Resending
        report on
        BYRNE APL
        proposal
137.    Draft letter K.     BYRNE17072-       Objection: See   See Plaintiff’s
        Stith to Alex re:   76                Defendant’s      Objection to
        ongoing                               Motion in        Defendant’s Motion
        violation of                          Limine           in Limine
        rights
138.    March 9, 2016       P5776-5777        Objection: See   See Plaintiff’s
        emails S. Byrne,                      Defendant’s      Objection to
        M. Berkman re:                        Motion in        Defendant’s Motion
        Confidential                          Limine           in Limine
        UWC
        investigation



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139.    June 1, 2015          BYRNE15789-       Irrelevant       Relevant to breach
        Memo R. Adorno        15794             Hearsay          of contract and
        to B. Goren, J.                         Opinion Best     retaliation claims.
        Thomas re:                              Evidence FRE     This evidence is not
        Byrne                                   401, 701, 802,   inadmissible
        accusation of                           1002             hearsay, or falls
        Adorno RE                                                within an exception
        source of                                                to the hearsay rule.
        anonymous                                                The evidence is
        letter                                                   based on witness
                                                                 perception and aids
                                                                 in the determination
                                                                 of a fact in dispute.
                                                                 Document was
                                                                 produced by Yale in
                                                                 discovery.



140.    December 18,          BYRNE12703        Irrelevant FRE   Relevant to
        2015 emails K.                          401              retaliation claim
        Stith, N. Valis re:                                      and retaliatory
        Phone call?                                              animus.

141.    S. Byrne Non-         BYRNE3397-
        Tenure                3417
        Department
        Case Summary
142.    May 2015 emails       BYRNE6829-        Irrelevant       Relevant to
        R. Adorno, R.         6830              Hearsay FRE      retaliation claims.
        Harrison re:                            401, 802         This evidence is not
        Monday                                                   inadmissible
                                                                 hearsay, or falls
                                                                 within an exception
                                                                 to the hearsay rule.

143.    April 2, 2015         P1173
        email J. Mangan
        to S. Byrne cc:
        T. Gendler re: In
        response to


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        your recent
        letter
144.    July 24, 2015        P1367-1368
        emails S. Byrne,
        T. Gendler, J.
        Davidio, J.
        Mangan, A.
        Hungerford, re:
        response to
        your letter
145.    July 17, 2016        BYRNE18525-       Objection: See   See Plaintiff’s
        email M. Della       18526             Defendant’s      Objection to
        Rocca to Panel                         Motion in        Defendant’s Motion
        Members                                Limine           in Limine

146.    Draft 12/14/15       BYRNE18948-       Objection: See   Relevant to breach
        Outline Ladder       18951             Defendant’s      of contract and
        Faculty                                Motion in        negligent
                                               Limine           misrepresentation
                                               Also:            claims. This
                                               Irrelevant       evidence is not
                                               Hearsay FRE      inadmissible
                                               401, 403         hearsay, or falls
                                                                within an exception
                                                                to the hearsay rule.
                                                                There is no danger
                                                                of unfair prejudice.

147.    April 15, 2015       BYRNE6209
        letter to S. Byrne
        from R. Adorno
        re: request
        materials
148.    March 4, 2016        BYRNE013105-
        email from J.        BYRNE013107
        Dovidioto S.
        Byrne
149.    March 24, 2015       BYRNE006881
        email from B.


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        Polak to Spanish
        & Portuguese
        Department
        Faculty re:
        review of climate
150.    March 24, 2015      BYRNE003856-
        email from R.       BYRNE003859
        Adorno to B.
        Polak attaching
        memo re:
        climate review
151.    April 8, 2015       BYRNE003788-   Objection: See   Relevant to
        email from R.       BYRNE003790    Defendant’s      retaliation claim
        Adorno to K.                       Motion in        and retaliatory
        Stith, J.                          Limine           animus,
        Cabranes, R.                       Also:
        Echevarria, N.                     Irrelevant FRE
        Valis                              401
152.    March 4, 2016       BYRNE14347-    Irrelevant       Relevant to breach
        letter from J.      BYRNE14349     Hearsay          of contract and
        Parenteau to B.                    Undue            retaliation claim.
        Polak re: S.                       Prejudice FRE    There is no danger
        Byrne                              401, 403, 802    of unfair prejudice.
        representation                                      This evidence is not
                                                            inadmissible
                                                            hearsay, or falls
                                                            within an exception
                                                            to the hearsay rule.

153.    August 2, 2016      BYRNE018258-   Objection: See
        letter from J.      BYRNE018262    Defendant’s
        Getman to R.                       Motion in
        Echevarria re:                     Limine
        opinion letter
        sexual
        misconduct
154.    October 17, 2014 BYRNE005111-
        letter from R.   BYRNE005112
        Echevarria to R.

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        Adorno re:
        meeting with S.
        Byrne
155.    March 25, 2015     BYRNE004667
        Email from N.
        Valis to R.
        Adorno re:
        newspaper
        article
156.    April 12, 2015     BYRNE004422     Objection: See   Relevant to
        Email from K.                      Defendant’s      retaliation claim.
        Stith to R.                        Motion in        The evidence is
        Adorno re: draft                   Limine           based on witness
        reply to recusal                                    perception and aids
        request                            Also:            in the determination
                                           Irrelevant       of a fact in dispute.
                                           Opinion FRE
                                           401, 701
157.    April 19, 2015     BYRNE004520     Objection: See   Relevant to
        Email from K.                      Defendant’s      retaliation claim.
        Stith to R.                        Motion in        The evidence is
        Adorno re:                         Limine           based on witness
        topics to                          Also:            perception and aids
        discuss                            Irrelevant       in the determination
                                           Opinion FRE      of a fact in dispute.
                                           401, 701
158.    Wikipedia –      BYRNE0017439      Objection: See   Relevant to
        Roberto          -                 Defendant’s      retaliation claim –
        Echevarria –     BYRNE0017440      Motion in        causation and
        January 20, 2016                   Limine           retaliatory animus.
                                           Also:            This evidence is not
                                           Irrelevant       inadmissible
                                           Hearsay FRE      hearsay, or falls
                                           401, 802         within an exception
                                                            to the hearsay rule.

159.    Wikipedia –        BYRNE017441-    Objection: See   Relevant to
        Roberto            BYRNE017442     Defendant’s      retaliation claim –
                                           Motion in        causation and
                                           Limine           retaliatory animus.

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        Echevarria –                       Also:            This evidence is not
        January 28, 2016                   Irrelevant       inadmissible
                                           Hearsay FRE      hearsay, or falls
                                           401, 802         within an exception
                                                            to the hearsay rule.

160.    Wikipedia –        BYRNE017443-    Objection: See   Relevant to
        Roberto            BYRNE017444     Defendant’s      retaliation claim –
        Echevarria –                       Motion in        causation and
        February 3, 2016                   Limine           retaliatory animus.
                                           Also:            This evidence is not
                                           Irrelevant       inadmissible
                                           Hearsay FRE      hearsay, or falls
                                           401, 802         within an exception
                                                            to the hearsay rule.

161.    August 21, 2015 BYRNE006107-       Irrelevant FRE   Relevant to breach
        email from A.    BYRNE006108       401              of contract and
        Hungerford to R.                                    retaliation claim.
        Adorno re:
        meeting to
        discuss S. Byrne
        case
162.    July 6, 2015       BYRNE006113-
        Email from A.      BYRNE006114
        Hungerford to J.
        Dovidiore: S.
        Byrne
        committee
163.    July 27, 2015      BYRNE004435-
        Email from N.      BYRNE004438
        Valis to A.
        Hungerford re:
        recusal request
164.    November 10,       BYRNE017072-    Irrelevant       Relevant to
        2015 letter from   BYRNE017076     Undue            retaliation claim.
        K. Stith to A.                     Prejudice FRE    There is no danger
        Dreier re: S.                      401, 403         of unfair prejudice.



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        Byrne recusal
        request
165.    Timeline          BYRNE014488-     Irrelevant       Relevant to
                          BYRNE014496      Undue            retaliation claim.
                                           Prejudice FRE    There is no danger
                                           401, 403, 1002   of unfair prejudice.
                                                            Document was
                                                            produced by Yale in
                                                            discovery.

166.    April 27, 2015    BYRNE012625-     Irrelevant       Relevant to
        Emails between    BYRNE012634      Opinion          retaliation claim.
        K. Stith and R.                    Undue            There is no danger
        Adorno re: S.                      Prejudice FRE    of unfair prejudice.
        Byrne                              401, 403, 701    The evidence is
        preliminary                                         based on witness
        materials                                           perception and aids
                                                            in the determination
                                                            of a fact in dispute.

167.    May 1, 2015       BYRNE006006      Irrelevant       Relevant to
        Emails between                     Opinion          retaliation claim.
        K. Stith and R.                    Undue            There is no danger
        Adorno re:                         Prejudice FRE    of unfair prejudice.
        climate review                     401, 403, 701    The evidence is
                                                            based on witness
                                                            perception and aids
                                                            in the determination
                                                            of a fact in dispute.

168.    July 15, 2015     BYRNE004847      Irrelevant       Relevant to
        Email from R.                      Opinion          retaliation claim.
        Adorno to K.                       Undue            There is no danger
        Stith re:                          Prejudice FRE    of unfair prejudice.
        anonymous                          401, 403, 701    The evidence is
        letter                                              based on witness
                                                            perception and aids
                                                            in the determination
                                                            of a fact in dispute.




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169.    July 23, 2015      BYRNE012667     Irrelevant       Relevant to
        Email from K.                      Opinion          retaliation claim.
        Stith to R.                        Undue            There is no danger
        Adorno re: Jose                    Prejudice FRE    of unfair prejudice.
        suggestions                        401, 403, 701    The evidence is
                                                            based on witness
                                                            perception and aids
                                                            in the determination
                                                            of a fact in dispute.

170.    March 1, 2016      BYRNE018752-    Objection: See
        Email from S.      BYRNE018759     Defendant’s
        Byrne to S.                        Motion in
        Spangler re:                       Limine
        meeting
171.    February 12,       BYRNE018775-    Objection: See
        2016 Email from    BYRNE018778     Defendant’s
        C. Jacobs to S.                    Motion in
        Spangler, et al                    Limine
        re: Roberto
172.    Dept. of Spanish   BYRNE018845     Irrelevant       Relevant to
        and Portuguese                     Undue            retaliation claim.
        Action Plan                        Prejudice FRE    There is no danger
        Review of                          401 403          of unfair prejudice.
        Departmental
        Climate
173.    March 8, 2016      BYRNE009151-    Objection: See   Relevant to breach
        Email from L.      BYRNE009165     Defendant’s      of contract and
        Guarino to S.                      Motion in        retaliation claims.
        Spangler re: S.                    Limine
        Byrne grievance                    Also:
                                           Irrelevant FRE
                                           401
174.    December 3,        BYRNE018767-    Objection: See   This evidence is not
        2015 Note re:      BYRNE018772     Defendant’s      inadmissible
        Call with K.                       Motion in        hearsay, or falls
        Poole                              Limine           within an exception
                                           Also: Hearsay    to the hearsay rule.
                                           FRE 802


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175.    March 9, 2016        BYRNE009166-   Irrelevant       Relevant to breach
        Email from L.        BYRNE009170    Hearsay          of contract and
        Guarino to S.                       Undue            retaliation claims.
        Spangler fwd: J.                    Prejudice FRE    There is no danger
        Parenteau letter                    401, 403, 802    of unfair prejudice.
                                                             This evidence is not
                                                             inadmissible
                                                             hearsay, or falls
                                                             within an exception
                                                             to the hearsay rule.

176.    March 16, 2016       BYRNE018255-   Objection: See   This evidence is not
        Email from S.        BYRNE018257    Defendant’s      inadmissible
        Spangler to                         Motion in        hearsay, or falls
        REDACTED re:                        Limine           within an exception
        confidentiality                     Also: Hearsay,   to the hearsay rule.
        agreement                           Irrelevant,      Relevant to breach
                                            Undue            of contract and
                                            Prejudice FRE    retaliation claims.
                                            401, 403, 802    There is no danger
                                                             of unfair prejudice.

177.    Chart re: Tenure BYRNE017239        Irrelevant 401   Relevant to breach
        Appointments                                         of contract and
        Promotions                                           negligent
        Committee 2012-                                      misrepresentation
        13                                                   claims.

178.    July 28, 2015        BYRNE011167-
        Email forwarded      BYRNE011168
        by N. Valis re: G.
        Mazzotta
179.    February 9, 2016     BYRNE009051-
        Notes by N.          BYRNE009057
        Valis re: Senior
        Faculty meeting
        for S. Byrne
        tenure case
180.    October 9, 2015      BYRNE003640-
        Earique Garcia       BYRNE03641


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        Santo-Tomas
        review letter re:
        S. Byrne
181.    December 15,        BYRNE003650-
        2015 A. Weber       BYRNE003653
        review letter re:
        S. Byrne
182.    December 15,      BYRNE003618-
        2015 A. Cascardi BYRNE003620
        review letter re:
        S. Byrne
183.    December 18,      BYRNE003642-
        2015 Mary         BYRNE003643
        Malcolm Gaylord
        review letter re:
        S. Byrne
184.    December 26,        BYRNE003634-
        2015 R. Folger      BYRNE003639
        review letter re:
        S. Byrne
185.    January 1, 2016     BYRNE00644-
        P. Grieve review    00649
        letter re: S.
        Byrne
186.    D. Jackson          BYRNE017252
        handwritten
        notes
187.    May 10, 2016        BYRNE009261-   Irrelevant FRE   Relevant to breach
        Email from K.       BYRNE009262    401              of contract,
        Zarra to S.                                         negligent
        Wilkinson, et al                                    misrepresentation
        re: review                                          and retaliation
        committee                                           claims.
        interview update
188.    November 19,        BYRNE018797-   Irrelevant       Relevant to
        2015 Email from     BYRNE018798    Undue            retaliation claim.
        K. Trumpener to                    Prejudice        There is no danger

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        S. Spangler re:                    Opinion          of unfair prejudice.
        Recap                              Hearsay FRE      The evidence is
                                           401, 403, 701,   based on witness
                                           802              perception and aids
                                                            in the determination
                                                            of a fact in dispute.
                                                            This evidence is not
                                                            inadmissible
                                                            hearsay, or falls
                                                            within an exception
                                                            to the hearsay rule.

189.    March 7, 2016      BYRNE017240-    Objection: See
        handwritten        BYRNE017241     Defendant’s
        notes                              Motion in
                                           Limine
190.    Handwritten        BYRNE017247-
        notes              BYRNE017254

191.    March 15, 2016     BYRNE018801-    Objection: See
        Email from         BYRNE018802     Defendant’s
        REDACTED to                        Motion in
        M. Berkman, et                     Limine
        al re:
        clarification of
        confidentiality
        agreement
192.    Notes re: S.       BYRNE018933-    Irrelevant       Relevant to breach
        Byrne promoted     BYRNE018946     Hearsay FRE      of contract and
        to AP on term in                   401, 802         negligent
        May 2013                                            misrepresentation
                                                            claim. This
                                                            evidence is not
                                                            inadmissible
                                                            hearsay, or falls
                                                            within an exception
                                                            to the hearsay rule.




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193.    February 11,         BYRNE016530-   Irrelevant Best Relevant to
        2015                 BYRNE16538     Evidence        retaliation and
        Confidential                        Hearsay FRE     breach of contract.
        Memo from R.                        401, 802, 1002
        Adorno to T.
        Gendler
194.    April 20, 2015       BYRNE008422-
        Email from S.        BYRNE008423
        Byrne to J.
        Dovidiore:
        recusal and
        climate review
195.    July 2, 2015      BYRNE007977
        Email from T.
        Gendler to A.
        Hungerford, et al
        re: S. Byrne
        case
196.    November 6,          BYRNE008432-
        2015 Email from      BYRNE008433
        S. Byrne to T.
        Gendler, et al re:
        status of recusal
        request
197.    August 23, 2016      BYRNE009243-   Objection to    Document is
        Email from B.        BYRNE009245    last page as    Exhibit VG on
        Polak to T.                         irrelevant,     Defendant’s Exhibit
        Gendler re:                         Opinion,        List. Relevant to
        grievance                           undue           retaliation and
        response                            prejudice FRE   breach of contract
                                            401, 403, 701   claims. There is no
                                                            danger of unfair
                                                            prejudice. The
                                                            evidence is based
                                                            on witness
                                                            perception and aids
                                                            in the determination
                                                            of a fact in dispute.


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198.    December 10,          BYRNE012184-   Irrelevant       Relevant to
        2015 Email            BYRNE012196    Opinion          retaliation claim.
        exchange                             Hearsay          There is no danger
        between R.                           Undue            of unfair prejudice.
        Adorno and N.                        Prejudice Best   The evidence is
        Valis                                Evidence FRE     based on witness
                                             401, 403, 701,   perception and aids
                                             802, 1002        in the determination
                                                              of a fact in dispute.
                                                              This evidence is not
                                                              inadmissible
                                                              hearsay, or falls
                                                              within an exception
                                                              to the hearsay rule.
                                                              This is a complete
                                                              document
                                                              produced by Yale in
                                                              discovery.

199.    April 26, 2016        BYRNE012654    Irrelevant       Relevant to
        Email from R.                        Opinion          retaliation claim.
        Adorno to K.                         Undue            There is no danger
        Stith, et al re: S.                  Prejudice FRE    of unfair prejudice.
        Byrne                                401, 403, 701    The evidence is
        preliminary                                           based on witness
        materials                                             perception and aids
                                                              in the determination
                                                              of a fact in dispute.

200.    May 6, 2015           BYRNE006829    Irrelevant
        email from R.                        Opinion
        Adorno to R.                         Undue
        Harrison re:                         Prejudice
        Monday                               Hearsay FRE
                                             401, 403, 701,
                                             802
201.    Notes from R.         BYRNE000480-
        Adorno’s              BYRNE000482
        meeting with
        Tenure Appeals
        Review

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        Committee July
        7, 2016
202.    November 15,       BYRNE007283-    Irrelevant FRE   Relevant to breach
        2014 Email from    BYRNE007285     401              of contract claim.
        N. Valis to R.
        Adorno re: S.
        Byrne APL
        proposal
203.    July 23, 2015      BYRNE012594-    Irrelevant FRE   Relevant to
        Email from R.      BYRNE012596     401              retaliation claim.
        Adorno to K.
        Stith re: notice
        to appear in
        court
204.    April 14, 2015     BYRNE012507-    Objection to     Relevant to
        Email from R.      BYRNE012510     most recent      retaliation claim.
        Adorno to K.                       email (on
        Stith, et al re:                   5097) as
        departmental                       Irrelevant FRE
        review for S.                      401
        Byrne tenure
        review
205.    N. Valis          BYRNE000436-
        Comments &        BYRNE000445
        Corrections to S.
        Byrne March 8,
        2016 letter to B.
        Polak
206.    April 6, 2015      BYRNE003958-    Irrelevant       Relevant to
        Email from N.      BYRNE003961     Undue            retaliation claim.
        Valis to R.                        Prejudice FRE    There is no danger
        Echevarria re:                     401, 403         of unfair prejudice.
        anonymous
        letter
        commentary
207.    December 11,       BYRNE003811-    Hearsay          Relevant to
        2015 Email from    BYRNE003812     Irrelevant       retaliation claim.
        J. Cabranes to                     Opinion          There is no danger

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        R. Adorno, et al                   Undue            of unfair prejudice.
        re: suggestions                    Prejudice FRE    The evidence is
                                           401, 403, 701,   based on witness
                                           802              perception and aids
                                                            in the determination
                                                            of a fact in dispute.
                                                            This evidence is not
                                                            inadmissible
                                                            hearsay, or falls
                                                            within an exception
                                                            to the hearsay rule.

208.    July 26, 2014       BYRNE004812
        Email from R.
        Adorno to T.
        Gendler re:
        Tenure Review
209.    April 29, 2014      BYRNE003146    Irrelevant       Relevant to
        Email from A.                      Undue            retaliation claim.
        Gonzalez to                        Prejudice FRE    There is no danger
        Mary re: Chair of                  401, 403         of unfair prejudice.
        Spanish and
        Portuguese
210.    UWC Case            BYRNE019286    Objection: See
        Checklist                          Defendant’s
                                           Motion in
                                           Limine
211.    November 18-12, Byrne004670 –      Irrelevant FRE Relevant to
        2, 2015 email     Byrne004675      401            retaliation and
        exchange                                          breach of contract
        Schirmeister,                                     claims.
        Adorno, Valis
        Rose, Allegra,
        Byrne re: follow-
        up on Mondays
        meeting -
        polices and
        procedures of
        graduate
        students on

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        Graduate
        Studies
        Committee
        allowed vote on
        curriculum

212.    Memo to FAS     Byrne004815 –       Irrelevant FRE   Relevant to
        Department and Byrne004816          401              retaliation claim.
        Programs Chairs
        re: details on
        procedures for
        leaves for non-
        tenured faculty

213.    October 29, 2014 Byrne005099 –
        email/memo to    Byrne005100
        FAS chairs from
        Gendler and
        Vanderlick re:
        Reminder:
        Procedures for
        tenure-track
        faculty leaves
        2015-2016

214.    December 17,      Byrne005083 –
        2014 email        Byrne005085
        exchange
        between Byrne
        and ADorno re:
        Procedures for
        tenure-track
        faculty leave
        2015-16

215.    October 29, 2014 Byrne005101        Irrelevant FRE   Relevant to
        email to                            401              retaliation claim
        Recipient list re:
        Request for
        leave of absence
        2015-16


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216.    July 24, 2015      Byrne010386
        email Dovidio to
        Gendler re: list
        of things go
        over finalize

217.    August 13, 2015    Byrne005657
        email Dovidio to
        Byrne re:
        response to
        your questions
        about tenure
        procedures-
        climate review
        ongoing

218.    March 30, 2015     Byrne005367 –
        letter Adorno to   Byrne005370
        Byrne re:
        penultimate
        year, tenure
        review

219.    Intentionally
        Omitted

220.    February 11,       Byrne05654
        2016 email
        exchange
        between Valis
        and Dovidio re:
        vote form for
        Byrne loaded on
        Interfolio

221.    July 26 & 27,      Byrne005813 –
        2015 email         Byrne005816
        exchange
        between Valis
        and Hungerford
        re requests for
        committee;

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        Adorno recusal
        reference

222.    July 26 & 27,       Byrne005817 –
        2015 email          Byrne005820
        exchange
        between Valis
        and Hungerford
        re requests for
        committee;
        Adorno recusal
        reference

223.    March 23, 2015    Byrne014366 –
        Hungerford        Byrne014393
        email to
        Bosward and
        Dovidio email re:
        urgent: handout
        materials
        needed for 9am
        meeting

224.    February 15,        Byrne005939
        2016 letter Valis
        to Byrne vote
        unfavorable,
        scholarship
        concerns

225.    December 24,        Byrne010351 –
        2015 Dovidio to     Byrne010352
        Byrne re: voting
        policies

226.    July 27, 2015       Byrne014291
        email Dovidio to
        Hungerford,
        Gendler fwd
        Byrne
        preliminary



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        materials and
        deadlines

227.    Notes on           Byrne000468 –      Irrelevant Best   Relevant to
        Adorno May 31,     Byrne000475        Evidence          retaliation claim.
        2016 meeting                          Opinion           This is a complete
        w/tenure                              Undue             document
        appeals review                        Prejudice         produced by Yale in
        committee                             Hearsay FRE       discovery. There is
                                              401, 403, 701,    no danger of unfair
                                              802, 1002         prejudice. This
                                                                evidence is not
                                                                inadmissible
                                                                hearsay, or falls
                                                                within an exception
                                                                to the hearsay rule.

228.    February 8, 2015   Byrne004535        Best Evidence     Relevant to
        email exchange                        Irrelevant FRE    retaliation and
        between Adorno                        401 1002          breach of contract
        and Valis re:                                           claims. This is a
        calendar of                                             complete document
        events 2013-                                            produced by Yale in
        2015                                                    discovery.

229.    August 10, 2016    Byrne006068 –
        Byne letter to     Byrne006070
        Polak re:
        committees
        findings

230.    August 5, 2016     Byrne006073 –
        Adorno letter to   Byrne006075
        Polak re: report
        of review
        committee

231.    December 15,       Byrne010689 –
        2015 Bakemeier     Byrne010690
        to Dovidio re 45
        day clock


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232.    July 25, 2016      Byrne013054 -
        email re: Report   Byrne013061
        of FRC to
        Wilkinson to
        Smith attach
        final report

233.    April 20, 2016     Byrne13000-37
        letter to Dorsey
        from Smith
        thank you for
        agreeing serve
        FRC, enclose
        policies

234.    March 8, 2016 –    Byrne013001 –
        Byrne tenure       Byrne013030
        appeal

235.    Byrne              Byrne014138 –    Irrelevant Best Relevant to
        Documents and      Byrne014140      Evidence FRE retaliation and
        witnesses for                       401, 1002       breach of contract
        Appeal 1, filed                                     claims. This is a
        March 2, 106                                        complete document
                                                            produced by Yale in
                                                            discovery.

236.    Byrne              Byrne013223 –    Irrelevant Best Relevant to
        Documents and      Byrne013224      Evidence FRE retaliation and
        Witnesses for                       401, 1002       breach of contract
        Appeal 2 filed                                      claims. This is a
        March 8, 2016                                       complete document
                                                            produced by Yale in
                                                            discovery.

237.    Byrne APL index    Byrne002950 –    Best Evidence   This is a complete
                           Byrne002952      FRE 1002        document
                                                            produced by Yale in
                                                            discovery.

238.    January 8, 2015    Byrne005068 –
        email exchange     Byrne005073


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        Dovidio, Byrne
        and Adorno re:
        Wednesday’s
        meeting-
        summary of
        meeting

239.    January 8, 2015     Byrne005074 –
        email exchange      Byrne005079
        Dovidio, Byrne
        and Adorno re:
        Wednesday’s
        meeting

240.    February 6, 2015    Byrne016492 –
        Minutes of          Byrne016497
        departmental
        committee
        meeting to
        evaluate Byrne
        4th and final APL
        research
        proposal

241.    January 7, 2015     Byrne016488 –
        meeting             Byrne016489
        summary
        provided by
        Dovidio
        accepted by
        Byrne and
        Adorno

242.    November 3,         Byrne016465 –
        2014 Byrne APL      Byrne016487
        proposal

243.    November 6,         Byrne016458 –
        2014 letter to      Byrne016459
        Gendler from
        Adorno forward



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        APL research
        proposal

244.    November 6,        Byrne005108 –
        2014 email         Byrne005110
        Adorno to
        Gendler re:
        Byrne APL leave
        proposal and
        related docs

245.    January 9, 2015    Byrne005986 –
        email exchange     Byrne005987
        Davidio, Adorno
        and Byrne re:
        meeting of
        1_7_15- version
        summary

246.    Byrne APL          Byrne005392 -
        Request            Byrne005401

247.    December 12,       Byrne006025 –
        2014 email         Byrne006027
        exchange
        between Byrne
        and Mangan re:
        interview

248.    November 17,       Byrne006030 –
        25, 26, 2014       Byrne006032
        email exchange
        between Byrne,
        Dovidio and
        Mangan Re: APL
        research
        proposal

249.    October 21 & 22,   Byrne006009 –    Irrelevant    Relevant to breach
        2014 email         Byrne006010      Opinion FRE   of contract and
        exchange                            401, 701      retaliation claims.
        between                                           The evidence is


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        Davidio,                                             based on witness
        Mangan,                                              perception and aids
        Bakemeier re:                                        in the determination
        Leave proposal                                       of a fact in dispute.
        issues

250.    January 24, 2015 Byrne005997
        email Byrne to
        Adorno re: my
        new APL leave
        proposal

251.    November 17,     Byrne006014 –
        2014 Adorno      Byrne006015
        email to Byrne
        re: APL research
        proposal

252.    December 3,      Byrne006033 –
        2014 Dovidio     Byrne006034
        and Adorno
        emails re: Byrne
        leave proposal

253.    October 30, 2014 Byrne006046 –
        emails Mangan    Byrne006047
        to Byrne re:
        Quick follow up-
        any new
        developments
        APL

254.    February 4 & 5,   Byrne007328 –      Irrelevant      Relevant to breach
        2015 emails       Byrne007329        Undue           of contract and
        Adorno, RGE,                         Prejudice FRE   retaliation claims.
        and Valis re:                        401, 403        There is no danger
        Committee                                            of unfair prejudice.
        meeting

255.    December 29,      Byrne012761
        2014 Dovidio to
        Adorno re:


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        Byrne APL
        another chance

256.    October 18, 2014 Byrne015904 –
        Byrne response Byrne015906
        to Adorno recent
        memo

257.    January 24, 2015 Byrne005994 –
        email Byrne to   Byrne005996
        Adorno re: my
        new APL leave
        proposal

258.    November 24,       Byrne005098
        2014 Adorno
        and Dovidio
        email exchange

259.    November 23,       Byrne009522
        2014 Dovidio
        email to Gendler
        re: Byrne APL
        extension

260.    October 16 & 17,   Byrne013361 –
        2014 Adorno        Byrne013362
        and Byrne email
        exchange re:
        committee
        meeting re:
        Byrne APL

261.    April 1, 2015      Byrne005224 –
        letter Byrne to    Byrne005226
        Adorno recusal
        request

262.    April 2, 2015      Byrne008417
        email exchange
        Gendler,
        Mangan,
        Dovidio, Byrne

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        re: in response
        to your recent
        letter

263.    April 13, 2015     Byrne014298 –
        Adorno to Byrne    Byrne014299
        re: Reply to S
        Byrne letter of
        04 01 15

264.    August 12, 2015    Byrne006125 –
        email exchange     Byrne006128
        between
        Hungerford,
        Valis and
        Dovidio re: fw:
        tenure dossier
        and re: External
        referees

265.    April 30, 2015     Byrne012526 –    Irrelevant Best Relevant to
        Adorno email to    Byrne012527      Evidence FRE retaliation claim.
        Stith re:                           401, 1002       This is a complete
        Progress report                                     document
                                                            produced by Yale in
                                                            discovery.

266.    Adorno             Byrne014501 –    Irrelevant       Relevant to
        submission to      Byrne014904      Hearsay Best     retaliation claim
        committee –                         Evidence         and retaliatory
        Other version                       Undue            animus. This is a
                                            Prejudice FRE    complete document
                                            401, 403, 802,   produced by Yale in
                                            1002             discovery. This
                                                             evidence is not
                                                             inadmissible
                                                             hearsay, or falls
                                                             within an exception
                                                             to the hearsay rule.
                                                             There is no danger
                                                             of unfair prejudice.


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267.    Adorno            Byrne014905 –    Irrelevant       Relevant to
        submission to     Byrne015339      Hearsay Best     retaliation claim
        committee –                        Evidence         and retaliatory
        other version                      Undue            animus. This is a
                                           Prejudice FRE    complete document
                                           401, 403, 802,   produced by Yale in
                                           1002             discovery. This
                                                            evidence is not
                                                            inadmissible
                                                            hearsay, or falls
                                                            within an exception
                                                            to the hearsay rule.
                                                            There is no danger
                                                            of unfair prejudice.

268.    Adorno            Byrne015340 –    Irrelevant       Relevant to
        submission to     Byrne15774       Hearsay Best     retaliation claim
        committee –                        Evidence         and retaliatory
        Final                              Undue            animus. This is a
                                           Prejudice FRE    complete document
                                           401, 403, 802,   produced by Yale in
                                           1002             discovery. This
                                                            evidence is not
                                                            inadmissible
                                                            hearsay, or falls
                                                            within an exception
                                                            to the hearsay rule.
                                                            There is no danger
                                                            of unfair prejudice.

269.    Adorno            Byrne016050 –    Irrelevant       Relevant to
        submission to     Byrne016451      Hearsay Best     retaliation claim
        committee –                        Evidence         and retaliatory
        Other version                      Undue            animus. This is a
                                           Prejudice FRE    complete document
                                           401, 403, 802,   produced by Yale in
                                           1002             discovery. This
                                                            evidence is not
                                                            inadmissible
                                                            hearsay, or falls
                                                            within an exception

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                                                             to the hearsay rule.
                                                             There is no danger
                                                             of unfair prejudice.

270.    Adorno            Byrne016452 –    Irrelevant        Relevant to
        submission to     Byrne016453      Hearsay Best      retaliation claim
        committee –                        Evidence          and retaliatory
        Other version                      Undue             animus. This is a
                                           Prejudice FRE     complete document
                                           401, 403, 802,    produced by Yale in
                                           1002              discovery. This
                                                             evidence is not
                                                             inadmissible
                                                             hearsay, or falls
                                                             within an exception
                                                             to the hearsay rule.
                                                             There is no danger
                                                             of unfair prejudice.

271.    July 12, 2015     Byrne016556 –    Objection: See
        draft memo        Byrne016566      Defendant’s
        Adorno to                          Motion in
        Goren/Thomas                       Limine
        re: Climate
        Review –
        Summary of the
        facts

272.    May 12, 2015      Byrne016518 –    Objection –       Relevant to
        memo Adorno to    Byrne016529      cover memo is     retaliation claim.
        Goren/Thomas                       irrelevant,       This is a complete
        re: Sue Byrne’s                    best evidence,    document
        November 7,                        FRE 401,          produced by Yale in
        2014, APL                          1002;             discovery.
        Research                           reminder is
        Proposal                           cumulative,
                                           duplicative
273.    May 12, 2015      Byrne016498 –    Hearsay           Relevant to breach
        Memorandum of     Byrne016517      Irrelevant Best   of contract and
        pertinent                          Evidence          retaliation claims.
        departmental                       Undue             This evidence is not


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        events for the                     Prejudice FRE   inadmissible
        years 2013,                        401, 402 802,   hearsay, or falls
        2014, and 2015                     1002            within an exception
                                                           to the hearsay rule.
                                                           This is a complete
                                                           document
                                                           produced by Yale in
                                                           discovery – to
                                                           avoid objections
                                                           based on
                                                           incomplete
                                                           exhibits, Plaintiff is
                                                           producing the
                                                           entire memo as
                                                           drafted and
                                                           produced. There is
                                                           no danger of unfair
                                                           prejudice.

274.    May 12, 2015    Byrne015923 –      Objection –     Relevant to breach
        Memo to         Byrne015930        cover memo is   of contract and
        Goren/Thomas                       irrelevant,     retaliation claims.
        from RA re: Sue                    best evidence   This is a complete
        Byrne Request                      FRE 401,        document
        for Recusal of                     1002;           produced by Yale in
        Adorno and RGE                     remainder is    discovery – to
        from tenure                        cumulative,     avoid objections
        consideration                      duplicative     based on
                                                           incomplete
                                                           exhibits, Plaintiff is
                                                           producing the
                                                           entire memo as
                                                           drafted and
                                                           produced.

275.    May 12, 2015      Byrne015911 –    Objection –     Relevant to breach
        Memo Adorno to    Byrne015922      cover memo is   of contract and
        Goren/Thomas                       irrelevant,     retaliation claims.
        re: Sue Byrne’s                    best evidence   This is a complete
        November 7,                        FRE 401,        document
        2014 APL                           1002;           produced by Yale in

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        research                              remainder is      discovery – to
        proposal                              cumulative,       avoid objections
                                              duplicative       based on
                                                                incomplete
                                                                exhibits, Plaintiff is
                                                                producing the
                                                                entire memo as
                                                                drafted and
                                                                produced.

276.    May 12, 2015      Byrne15907 –        Objection –       Relevant to breach
        Memo Adorno to    Byrne15910          cover memo is     of contract and
        Goren/Thomas                          irrelevant,       retaliation claims.
        re: “Climate”                         best evidence     This is a complete
                                              FRE 401,          document
                                              1002;             produced by Yale in
                                              remainder is      discovery – to
                                              cumulative,       avoid objections
                                              duplicative       based on
                                                                incomplete
                                                                exhibits, Plaintiff is
                                                                producing the
                                                                entire memo as
                                                                drafted and
                                                                produced.

277.    July 6, 2015      Bryne016046 –       Irrelevant Best   Relevant to
        Adorno memo to    Byrne016049         Evidence          retaliation claims.
        Goren/Thomas                          Hearsay FRE       This is a complete
        re:                                   401, 802, 1002    document
        Administrative                                          produced by Yale in
        actions                                                 discovery. This
                                                                evidence is not
                                                                inadmissible
                                                                hearsay, or falls
                                                                within an exception
                                                                to the hearsay rule.

278.    March 27, 2015    Byrne008404
        email from
        Office of Provost


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        to Members of
        Ladder Faculty
        in Dept. re:
        Department
        Climate Review

279.    Intentionally
        Omitted

280.    April 12, 2015      Byrne012978 –      Hearsay          This evidence is not
        emails re:          Byrne012979        Irrelevant       inadmissible
        Adorno draft                           Opinion          hearsay, or falls
        reply of 04 12 15                      Undue            within an exception
        to Byrne recusal                       Prejudice FRE    to the hearsay rule.
        request of 04 01                       401, 403, 701,   Relevant to
        15                                     802              retaliation and
                                                                breach of contract
                                                                claims. The
                                                                evidence is based
                                                                on witness
                                                                perception and aids
                                                                in the determination
                                                                of a fact in dispute.
                                                                There is no danger
                                                                of unfair prejudice.

281.    July 6, 2015        Byrne012105
        email Dovidioto
        Hungerford re:
        SPORT review
        status and
        Byrne case

282.    December 14,        Byrne012866 –      Irrelevant FRE   Relevant to breach
        2014 Dovidio        Byrne012867        401              of contract claim.
        email to Mangan

283.    January 6, 2016 Byrne012941 –          Irrelevant       Relevant to
        email from      Byrne012946            Undue            retaliation claim.
        Pamela Bosward                         Prejudice        There is no danger
                                               Hearsay FRE      of unfair prejudice.
                                               401, 403, 802    This evidence is not

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        re: FAS steering                                  inadmissible
        attach agenda                                     hearsay, or falls
                                                          within an exception
                                                          to the hearsay rule.

284.    Meeting of the     BYRNE399-
        Senior Faculty     BYRNE405
        of the
        Department of
        Spanish and
        Portuguese
        Byrne Tenure
        Promotion Case
        February 9, 2016
        Notes by Valis

285.    December 17,       BYRNE003689
        2015 emails re:
        Additional
        Document has
        been added to
        Byrne Interfolio

286.    January 8, 2016    BYRNE003734-
        email from Valis   BYRNE003735
        to Jackson,
        Mazzotta and
        Bloch re:
        Interfolio

287.    July 30, 2015      BYRNE007735-
        emails from        BYRNE007736
        Hungerford to
        Valis re: Byrne
        review
        committee

288.    July 29, 2015      BYRNE006139-
        email from         BYRNE006153
        Hungerford to
        Bloch re:
        Request

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        regarding tenure
        review in
        Spanish and
        Portuguese

289.    February 10 &      BYRNE006351
        11, 2016 emails
        from Valis to
        Bloch re:
        Meeting

290.    July 29, 2015      BYRNE007759-
        email re:          BYRNE007760
        Request
        regarding tenure
        review in
        Spanish and
        Portuguese

291.    August 28, 2015    BYRNE007693-
        email re: book     BYRNE007694
        delivery?

292.    July 29, 2015      BYRNE007752-
        email re:          BYRNE007753
        Notification

293.    August 14 & 15,    BYRNE007997-
        2015 emails re:    BYRNE007998
        thanks

294.    March 4, 2016      BYRNE9733-
        Email from         9735
        Dovidio to Byrne
        responding to
        request re
        statistics

295.    Summary            BYRNE009023-
        Internal Review    BYRNE009024
        Committee for
        Byrne Tenure


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        Case (Feb. 9,
        2016)

296.    Notes from         BYRNE009059-
        tenure             BYRNE009061
        deliberation and
        vote meeting:
        Byrne Tuesday,
        February 9, 2016

297.    August 23, 2016 BYRNE009244-
        letter to Gendler BYRNE009245
        from Polak re:
        convey decision
        recommendation
        s

298.    July 6, 2016       BYRNE009306-
        emails             BYRNE009308
        Wilkinson re:
        request

299.    May 9 & 10, 2016   BYRNE009309-
        emails             BYRNE009310
        Wilkinson re:
        schedule this
        Thursday-Fri

300.    June 2, 2016       BYRNE010776-
        emails             BYRNE010777

301.    The Report of      BYRNE017291-
        the Faculty of     BYRNE017313
        Arts and
        Sciences Tenure
        and
        Appointments
        Policy
        Committee




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302.    May 2015, May      BYRNE000008 –
        2016 Salary        BYRNE000009
        letters

303.    Intentionally
        Omitted

304.    January 12 & 19,   BYRNE000466 –
        2016 email         BYRNE000467
        exchange re:
        update to
        recusal request

305.    April 2, 2015    BYRNE006210 –
        email exchange   BYRNE006211
        between Mangan
        and Byrne re: In
        response to
        your recent
        letter

306.    April 2, 2015      BYRNE008414
        email Mangan to
        Byrne cc:
        Gendler re: in
        response to
        your recent
        letter

307.    April 13, 2015     BYRNE008418 –
        email Byrne to     BYRNE008419
        Mangan

308.    July 16, 2015      BYRNE008425
        letter Byrne to
        Gendler tenure
        package due 1
        month, any
        progress

309.    April 13, 2015     BYRNE007757 –
        email exchange     BYRNE007758
        re: Reply to S

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        Byrne letter of
        04 01 15

310.    January 12, 2015 BYRNE008446 –
        email exchange   BYRNE008447
        re: update to
        recusal request

311.    July 16, 2015      BYRNE006012
        letter Byrne to
        Gendler 1 month
        turning in
        materials

312.    July 27, 2015      BYRNE011039 –
        email              BYRNE011040
        Hungerford to
        Gendler

313.    July 27, 2015      BYRNE011042 –
        Hungerford to      BYRNE011044
        Gendler forward
        email exchange
        re Request:
        tenure review in
        Spanish and
        Portuguese

314.    July 27, 2015      BYRNE011226 –
        Hungerford to      BYRNE01129
        Gendler forward
        email exchange

315.    February 15,       BYRNE003688
        29016 email
        Valis to Dovidio
        and Gendler re:
        delivered
        outcome to
        Byrne

316.    November 11,       BYRNE008434
        2015 email

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        Gendler to
        Byrne re:
        update- know
        anxiously
        awaiting
        decision

317.    January 19, 2016 BYRNE004319 –
        email exchange   BYRNE004321
        re: review
        procedures

318.    January 19, 2016 BYRNE0004411
        Gendler email
        re: review
        procedures

319.    April 13, 2015     BYRNE005239 –
        Email exchange     BYRNE005242
        between Adorno
        and FAS Deans
        deans

320.    July 24, 2015      BYRNE005519
        email Gendler to
        Valis, Byrne,
        Hungerford,
        Dovidio and
        Adorno re:
        Byrne Review

321.    February 11,       BYRNE006279
        2016 Valis to
        Gendler re:
        Form in
        Interfolio

322.    July 24, 2015      BYRNE006482
        email from
        Gendler to Valis
        and Byrne re:
        Byrne Review


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323.    July 24, 2015     BYRNE007632
        email from
        Gendler to
        Byrne re:
        response to
        your letters

324.    July 24, 2015     BYRNE007648 –
        email exchange    BYRNE007649
        re: response to
        your letters

325.    August 16, 2016 BYRNE014172        Irrelevant FRE   Relevant to breach
        Smith to Gendler                   401              of contract,
        re: Byrne –                                         negligent
        technical                                           misrepresentation
        question                                            and retaliation
                                                            claims.

326.    February 11,      BYRNE010712
        2016 meeting
        request Dovidio
        and Gendler re:
        Byrne case

327.    Intentionally
        Omitted

328.    February 18,      BYRNE006999
        2015 email from
        Gendler &
        Dovidio to FAS
        Chairs re:
        Tenure and
        Promotion
        Procedures

329.    July 24, 2015     BYRNE007765 – Irrelevant FRE      Relevant to breach
        Gendler and       BYRNE007766   401                 of contract,
        Byrne email                                         negligent
        exchange re:                                        misrepresentation



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        response to                                         and retaliation
        your letters                                        claims.

330.    August 16, 2016    BYRNE017155     Irrelevant FRE   Relevant to breach
        email Smith to                     401              of contract,
        Gendler                                             negligent
                                                            misrepresentation
                                                            and retaliation
                                                            claims.

331.    Fall Term 2014     BYRNE014352     Irrelevant FRE   Relevant to breach
        letter to                          401              of contract,
        colleagues from                                     negligent
        Gendler                                             misrepresentation
                                                            and retaliation
                                                            claims.

332.    July 22, 2015      BYRNE016864 –
        email exchange-    BYRNE016865
        Gendler to
        Hungerford re:
        Sport update

333.    July 27, 2015      BYRNE007652 –
        email exchange     BYRNE007653
        – Dovidio fwd
        May 6, 2015
        email from
        Dovidio to
        Adorno

334.    Hungerford         BYRNE017139 –
        email exchange     BYRNE017141

335.    March 31, 2015     BYRNE014767 –
        and April 11 &     BYRNE014768
        13, 2015 emails
        re: Departmental
        committee for
        Byrne tenure
        review



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336.    Intentionally
        Omitted



337.    March 3, 2016       BYRNE006064 –
        email exchange      BYRNE006065
        re: Confidential
        Review
        Committee
        Interview
        Confirmed

338.    July 29, 2016       BYRNE014151 – Irrelevant FRE   Relevant to breach
        email from Zarra    BYRNE014152   401              of contract,
        to Gendler re:                                     negligent
        Confidential on                                    misrepresentation
        behalf of                                          and retaliation
        Associate                                          claim.
        Provost Cynthia
        Smith

339.    July 29, 2016       BYRNE009139
        letter Smith to
        Gendler attach
        copy of report of
        findings of fact
        and conclusion
        opportunity
        submit written
        comments

340.    April 21, 2016      BYRNE009269
        letter Smith to
        Gendler re:
        provost selected
        committee
        review Byrne
        complaint

341.    July 29, 2016       BYRNE009133 –
        email to Gendler    BYRNE009138


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        from Zarra re:
        Final Byrne FRC
        Committee
        Report of
        Findings of Fact
        and Conclusion

342.    April 26, 2015   BYRNE014661 –     Irrelevant Best   Relevant to breach
        Memo Adorno to BYRNE014665         Evidence          of contract and
        Polak, Cooley,                     Opinion FRE       retaliation claim.
        Gendler re: Dean                   401, 701, 1002    The evidence is
        Cooley’s Friday,                                     based on witness
        April 24, 2015                                       perception and aids
                                                             in the determination
                                                             of a fact in dispute.
                                                             This is a complete
                                                             document
                                                             produced by Yale in
                                                             discovery.

343.    February 11,       BYRNE014734 – Irrelevant          Relevant to breach
        2015               BYRNE014759   Best Evidence       of contract and
        Confidential                     Opinion             retaliation claim.
        Memo Adorno to                   FRE 401, 701,       The evidence is
        Gendler re:                      1002                based on witness
        Documentation                                        perception and aids
                                                             in the determination
                                                             of a fact in dispute.
                                                             This is a complete
                                                             document
                                                             produced by Yale in
                                                             discovery.

344.    April 29, 2016     BYRNE012980 – Irrelevant          Relevant to breach
        email from Zarra   BYRNE012982   FRE 401             of contract,
        to Gendler and                                       negligent
        Dovidio re:                                          misrepresentation
        CONFIDENTIAL                                         and retaliation
        REVIEW                                               claims. Deviation
        COMMITTEE                                            from
        REQUEST                                              decisionmaking


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                                                          policies and
                                                          procedures thereof
                                                          can suggest pretext
                                                          in the decision and
                                                          appeal of the
                                                          decisionmaking
                                                          process.

345.    April 24, 2015     BYRNE015062 – Irrelevant       Relevant to
        email from         BYRNE015064   FRE 401          retaliation and
        Cooley to                                         breach of contract
        Adorno re:                                        claims.
        request

346.    March 24, 2015     BYRNE015483 –
        Memo Adorno to     BYRNE015484
        Polak, Cooley,
        Gendler re:
        requests and
        questions

347.    November 6,        BYRNE004864 –
        2014 letter to     BYRNE004893
        Gendler from
        Adorno re:
        Byrne APL
        proposal

348.    February 9, 2015   BYRNE009005
        email Adorno to
        Davidio, Gendler
        and Hendel re:
        Reasons

349.    February 23,       BYRNE009433
        2015 emails
        Byrne to Dovidio
        re: APL news?

350.    November 10,       BYRNE012439
        2015 Byrne
        emails Gendler


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        to Hungerford,
        Dovidio and
        Bakemeier re:
        Sue Bryne

351.    November 8,        BYRNE009408 –
        2014 email         BYRNE009409
        Gendler to FAS
        Chairs re:
        Procedures for
        tenure-track
        faculty leaves
        2015-16, memo
        re: details on
        procedures for
        leave
        applications

352.    April 13, 2015     BYRNE007659 –
        fwd Bakemeier      BYRNE007660
        to Hungerford
        re: FW: External
        Review Request
        Span-Port

353.    March 23, 2015     BYRNE018900 – Irrelevant       Relevant to
        Memo Adorno to     BYRNE018932   Undue            retaliation claim
        Polak, Cooley,                   Prejudice        and retaliatory
        Gendler re:                      Opinion          animus. There is
        Department                       Hearsay          no danger of unfair
        Discussion                       FRE 401, 403,    prejudice. The
        w/attachments                    701, 802         evidence is based
                                                          on witness
                                                          perception and aids
                                                          in the determination
                                                          of a fact in dispute.
                                                          This evidence is not
                                                          inadmissible
                                                          hearsay, or falls
                                                          within an exception
                                                          to the hearsay rule.


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354.    March 27, 2015      BYRNE008308 –
        Cooley to           BYRNE008310
        Gendler re: FW:
        external Review
        Request Span-
        Port

355.    Intentionally
        Omitted

356.    Intentionally
        Omitted

357.    July 21, 2015       BYRNE016852
        emails between
        Gendler and
        Mary Miller re:
        quick
        confidential call

358.    April 15, 2015   BYRNE015055 –      Irrelevant      Relevant to
        email from       BYRNE015056        Undue           retaliatory animus.
        Adorno to Polak,                    Prejudice       There is no danger
        Cooley, Gendler                     Best Evidence   of unfair prejudice.
        re: Targeted                        FRE 401, 403,   This is a complete
        vandalism                           1002            document
                                                            produced by Yale in
                                                            discovery.

359.    April 16 & 23,      BYRNE015493 – Irrelevant        Relevant to
        2015 email          BYRNE015494   Undue             retaliatory animus
        exchange re: A                    Prejudice         and retaliation
        Prophecy Self-                    Opinion           claim. There is no
        Fulfilled:                         Hearsay          danger of unfair
        Graduate                          Best Evidence     prejudice. The
        Admissions                        FRE 401, 403,     evidence is based
        Spanish 2015                      701, 802, 1002    on witness
                                                            perception and aids
                                                            in the determination
                                                            of a fact in dispute.
                                                            This is a complete
                                                            document

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                                                             produced by Yale in
                                                             discovery.

360.    April 14, 2015      BYRNE012908 – Irrelevant         Relevant to
        email from          BYRNE012909   FRE 401            retaliation claims
        Dovidio to                                           and retaliatory
        Gendler,                                             animus.
        Mangan,
        Bakemeier, and
        Hunderford re:
        Confidential: In
        response to
        your recent
        letter-

361.    February 18,     BYRNE017480        Objection: See
        2016 email                          Defendant’s
        Menon to Polak,                     Motion in
        Gendler re: UWC                     Limine
        procedures &
        formal complaint
        of sexual
        harassment

362.    August 30, 2016     BYRNE018218 – Objection: See
        email Menon to      BYRNE018219   Defendant’s
        RGE re:                           Motion in
        Confidential:                     Limine
        UWC attach
        decision –
        August 30, 2016-

363.    August 10, 2016     BYRNE000458 –
        Byrne letter to     BYRNE000462
        Polak re: July 25
        report of Faculty
        Review
        Committee

364.    February 14,        BYRNE003701     Objection: See
        2016 email from                     Defendant’s
        Valis to Adorno

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        and Stith re:                       Motion in
        Fwd: article-                       Limine
        found out own
        IP address

365.    December 18,        BYRNE003709 – Irrelevant      Relevant to
        2015 email from     BYRNE003712   FRE 401         retaliation claim
        Valis to Stith re
        technical
        question? –
        forward chain of
        emails

366.    April 12, 2015      BYRNE003774-    Irrelevant    Relevant to
        email from          BYRNE003781     FRE 401       retaliation claim
        Adorno to Stith,                                  and retaliatory
        Cabranes, RGE,                                    animus.
        Valis re: Adorno
        draft reply of 04
        12 15 to Byrne
        recusal request

367.    April 1, 2015       BYRNE003782 – Irrelevant      Relevant to
        email from          BYRNE003787   FRE 401         retaliation claim
        Adorno to Stith,                                  and retaliatory
        Cabranes, RGE,                                    animus.
        Valis re: Fwd:
        Review of
        academic and
        employment
        decisions

368.    December 13,        BYRNE003872 – Irrelevant      Relevant to
        2015 email          BYRNE003873   FRE 401         retaliation claim
        exchange                                          and retaliatory
        Adorno to Stith,                                  animus.
        Cabranes, Valis
        re: grad
        students
        complaints



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        about sexual
        misconduct

369.    April 1, 7 & 8,    BYRNE003890 – Irrelevant       Relevant to
        2015 emails        BYRNE003892   Opinion          retaliation claim.
        from Adorno to                   FRE 401, 701     The evidence is
        Polak re: Review                                  based on witness
        of academic and                                   perception and aids
        employment                                        in the determination
        decision                                          of a fact in dispute.

370.    December 13,       BYRNE003918 – Opinion          Relevant to
        2015 email         BYRNE003922   Hearsay          retaliation claim
        exchange re:                     Irrelevant       and retaliatory
        preparing for                    Undue            animus. This
        Tuesday’s                        Prejudice        evidence is not
        (December 15,                    FRE 401, 403,    inadmissible
        2015) meeting                    701, 802         hearsay, or falls
                                                          within an exception
                                                          to the hearsay rule.
                                                          The evidence is
                                                          based on witness
                                                          perception and aids
                                                          in the determination
                                                          of a fact in dispute.
                                                          There is no danger
                                                          of unfair prejudice.

371.    April 1, 2015      BYRNE003926 – Opinion          Relevant to
        email exchange     BYRNE003932   Irrelevant       retaliation claim.
        re:                              FRE 401, 701     The evidence is
        reconsideration                                   based on witness
        of Paulo Moreira                                  perception and aids
                                                          in the determination
                                                          of a fact in dispute.

372.    April 8, 2015      BYRNE003933 – Irrelevant       Relevant to
        email from         BYRNE003934   FRE 401          retaliation claim
        Adorno to Stith,                                  and retaliatory
        Cabranes, RGE,                                    animus.
        and Valis re:
        Review of

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        academic and
        employment
        decisions

373.    April 1, 2015      BYRNE004144 -   Irrelevant       Relevant to
        email from         BYRNE004146     Opinion          retaliation claim.
        Adorno to Stith,                   FRE 401, 701     The evidence is
        Cabranes, &                                         based on witness
        RGE re: Byrne                                       perception and aids
        demand for                                          in the determination
        Adorno & RGE                                        of a fact in dispute.
        recusals on
        tenure
        consideration

374.    December 11,       BYRNE004147 – Emails are         Relevant to
        2015 email from    BYRNE004150   irrelevant         retaliation claim
        Adorno to Valis                  (FRE 401),         and retaliatory
        and Stith re:                    attachment is      animus.
        Notes taken                      duplicative of
        yesterday                        68 (see            Exhibit 374’s
        afternoon                        objection as       attachment is an
        /evening                         irrelevant FRE     updated version of
                                         401)               the attachment to
                                                            Exhibit 68.

375.    February 13,       BYRNE004404     Objection: See
        2016 Adorno,                       Defendant’s
        Stith and                          Motion in
        Cabranes emails                    Limine
        re: Tracking
        something of
        interest (IP
        addresses)

376.    February 13,       BYRNE004405     Objection: See
        2016 Adorno,                       Defendant’s
        Stith and                          Motion in
        Cabranes emails                    Limine
        re: Tracking
        something of



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        interest (IP
        Addresses)

377.    February 13 &       BYRNE004409 – Objection: See
        14, 2016 Adorno     BYRNE004410   Defendant’s
        fwd Byrne email                   Motion in
        to Stith, Valis                   Limine
        and Byrne re:
        evaluations of
        writing samples

378.    February 11,        BYRNE004415 – Cover email is    Cover email is
        2016 Adorno         BYRNE004421   irrelevant,       relevant to
        email to Stith,                   opinion (FRE      retaliation claim.
        Cabranes re:                      401, 701);        The cover email is
        Today’s assault                   news articles     based on witness
        on RGE (YDN)                      are hearsay       perception and aids
                                          (FRE 802)         in the determination
                                                            of a fact in dispute.
                                                            The news article is
                                                            not inadmissible
                                                            hearsay, or falls
                                                            within an exception
                                                            to the hearsay rule.

379.    April 12, 2015      BYRNE004424 – Irrelevant FRE    Relevant to
        Adorno draft        BYRNE004426   401               retaliatory animus
        reply of 04 12 15                                   and retaliation
        to Byrne recusal                                    claim.
        request of 04 01
        15

380.    March 31, 2013      BYRNE003584-    Irrelevant      Relevant to
        evaluation letter   BYRNE003587     Undue           retaliation claim
        of Byrne from A.                    Prejudice       and pretext –
        Cruz                                Opinion         specifically the
                                            Hearsay         weaknesses,
                                            FRE 401, 403,   implausibilities,
                                            701, 802        inconsistencies or
                                                            contradictions
                                                            offered by
                                                            Defendant for its

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                                                           actions. There is
                                                           no danger of unfair
                                                           prejudice in this
                                                           external evaluator
                                                           letter.

                                                           The document/letter
                                                           is based on witness
                                                           perception and aids
                                                           in the determination
                                                           of a fact in dispute.
                                                           This
                                                           document/letter is
                                                           not inadmissible
                                                           hearsay, or falls
                                                           within an exception
                                                           to the hearsay rule.



381.    April 5, 2013       BYRNE003591-   Irrelevant      Relevant to
        evaluation letter   BYRNE003596    Undue           retaliation claim
        of Byrne from C.                   Prejudice       and pretext –
        Ganelin                            Opinion         specifically the
                                           Hearsay         weaknesses,
                                           FRE 401, 403,   implausibilities,
                                           701, 802        inconsistencies or
                                                           contradictions
                                                           offered by
                                                           Defendant for its
                                                           actions. There is
                                                           no danger of unfair
                                                           prejudice in this
                                                           external evaluator
                                                           letter.

                                                           The document/letter
                                                           is based on witness
                                                           perception and aids
                                                           in the determination
                                                           of a fact in dispute.
                                                           This

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                                                           document/letter is
                                                           not inadmissible
                                                           hearsay, or falls
                                                           within an exception
                                                           to the hearsay rule.



382.    March 28, 2013      BYRNE003588-   Irrelevant      Relevant to
        evaluation letter   BYRNE003590    Undue           retaliation claim
        of Byrne from E.                   Prejudice       and pretext –
        Friedman                           Opinion         specifically the
                                           Hearsay         weaknesses,
                                           FRE 401, 403,   implausibilities,
                                           701, 802        inconsistencies or
                                                           contradictions
                                                           offered by
                                                           Defendant for its
                                                           actions. There is
                                                           no danger of unfair
                                                           prejudice in this
                                                           external evaluator
                                                           letter.

                                                           The document/letter
                                                           is based on witness
                                                           perception and aids
                                                           in the determination
                                                           of a fact in dispute.
                                                           This
                                                           document/letter is
                                                           not inadmissible
                                                           hearsay, or falls
                                                           within an exception
                                                           to the hearsay rule.



383.    Evaluation letter   BYRNE003602-   Irrelevant      Relevant to
        of Byrne from E.    BYRNE003603    Undue           retaliation claim
        Rivers                             Prejudice       and pretext –
                                           Opinion         specifically the

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                                           Hearsay         weaknesses,
                                           FRE 401, 403,   implausibilities,
                                           701, 802        inconsistencies or
                                                           contradictions
                                                           offered by
                                                           Defendant for its
                                                           actions. There is
                                                           no danger of unfair
                                                           prejudice in this
                                                           external evaluator
                                                           letter.

                                                           The document/letter
                                                           is based on witness
                                                           perception and aids
                                                           in the determination
                                                           of a fact in dispute.
                                                           This
                                                           document/letter is
                                                           not inadmissible
                                                           hearsay, or falls
                                                           within an exception
                                                           to the hearsay rule.



384.    April 8, 2013       BYRNE003577-   Irrelevant      Relevant to
        evaluation letter   BYRNE003583    Undue           retaliation claim
        of Byrne from M.                   Prejudice       and pretext –
        Collins                            Opinion         specifically the
                                           Hearsay         weaknesses,
                                           FRE 401, 403,   implausibilities,
                                           701, 802        inconsistencies or
                                                           contradictions
                                                           offered by
                                                           Defendant for its
                                                           actions. There is
                                                           no danger of unfair
                                                           prejudice in this
                                                           external evaluator
                                                           letter.


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                                                           The document/letter
                                                           is based on witness
                                                           perception and aids
                                                           in the determination
                                                           of a fact in dispute.
                                                           This
                                                           document/letter is
                                                           not inadmissible
                                                           hearsay, or falls
                                                           within an exception
                                                           to the hearsay rule.



385.    April 10, 2013      BYRNE003597-   Irrelevant      Relevant to
        evaluation letter   BYRNE003601    Undue           retaliation claim
        of Byrne from M.                   Prejudice       and pretext –
        Greer                              Opinion         specifically the
                                           Hearsay         weaknesses,
                                           FRE 401, 403,   implausibilities,
                                           701, 802        inconsistencies or
                                                           contradictions
                                                           offered by
                                                           Defendant for its
                                                           actions. There is
                                                           no danger of unfair
                                                           prejudice in this
                                                           external evaluator
                                                           letter.

                                                           The document/letter
                                                           is based on witness
                                                           perception and aids
                                                           in the determination
                                                           of a fact in dispute.
                                                           This
                                                           document/letter is
                                                           not inadmissible
                                                           hearsay, or falls
                                                           within an exception
                                                           to the hearsay rule.


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386.    Byrne 2014 W-2    P5888              Objection: See
        from Yale                            Defendant’s
                                             Motion in
                                             Limine
387.    Byrne 2014        P5889-P5893        Objection: See
        Form 1040                            Defendant’s
                                             Motion in
                                             Limine
388.    Byrne 2015        P5894-P5896        Objection: See
        Form 1040                            Defendant’s
                                             Motion in
                                             Limine
389.    Byrne 2016 W-2    P5897              Objection: See
        from Yale                            Defendant’s
                                             Motion in
                                             Limine
390.    Byrne 2016 W-2    P5898-P5899        Objection: See
        from the                             Defendant’s
        University of Las                    Motion in
        Vegas                                Limine

391.    Byrne 2016        P5900-P5902        Objection: See
        Form 1040                            Defendant’s
                                             Motion in
                                             Limine
392.    Byrne 2017 W-2    P5903-04           Objection: See
        from the                             Defendant’s
        University of Las                    Motion in
        Vegas                                Limine

393.    Byrne 2017        P5905-5907         Objection: See
        Form 1040                            Defendant’s
                                             Motion in
                                             Limine
394.    Byrne 2018 W-2    P5908              Objection: See
        from the                             Defendant’s
        University of Las                    Motion in
        Vegas                                Limine



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395.    Byrne 2018           P5910-5912        Objection: See
        Form 1040                              Defendant’s
                                               Motion in
                                               Limine
396.    Appalachian          P5913-5938        Objection: See
        State University                       Defendant’s
        Job Search and                         Motion in
        Application                            Limine

397.    Carnegie Mellon      P5939-5967        Objection: See
        University Job                         Defendant’s
        Search and                             Motion in
        Application                            Limine

398.    UNLV                 P5968             Objection: See
        Correspondence                         Defendant’s
        Regarding                              Motion in
        Second Term as                         Limine
        Chair

399.    University of        P5969-5991        Objection: See
        Alabama Job                            Defendant’s
        Search and                             Motion in
        Application                            Limine

400.    University of        P5992-6013        Objection: See
        California, Irvine                     Defendant’s
                                               Motion in
                                               Limine
401.    March 7, 2016        P6014-6016        Objection: See
        letter from UNLV                       Defendant’s
        re: Job Offer                          Motion in
                                               Limine
402.    UNLV Endowed         P6017-6101        Objection: See
        Chair Position                         Defendant’s
        and Application                        Motion in
                                               Limine
403.    Wake Forest          P6102-6124        Objection: See
        University Job                         Defendant’s
        Search and                             Motion in
        Application                            Limine


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404.    Byrne request       BYRNE13349 –
        for faculty leave   13358
        for 2010-2011
        with Ficino
        “From Literature
        to Law”
        Proposal

405.    October 17, 2014 BYRNE13363 -
        email from S.    13364
        Byrne to R.
        Adorno




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